Case 7:19-cr-00006 Document 1 Filed on 12/17/18 in TXSD P_agerl__of_Z

AO 91 (Rev. 11/11) Criminal Complaint -

UNITED STATES DISTRICT CoURT

for the
Southern District of Texas

 

 

United States of America )
V. ) '
) CaseNo. :\f ig WS g S"%'O
ALVAREZ, Juan YOB: 1955 )
United States Citizen ' §
g
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state[that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of l 2 / 1,.‘?§/ 2 0 l 8 in the county of St afr ill the
Southern District of T€XaS , the defendant(s) violated:

Code Section Ojj‘ense Descriptl`on
21 USC 841 (a)(l) Knowingly and intentionally possess,

with intent to distribute approximately
l04.5 kilograms of marijuana, a Schedule
I Controlled Substance under the
Controlled Substance A€t.'“ 'M'

'l`his criminal complaint is based on these facts:

SEE ATTACHMENT A

Continued on the attached sheet.

fifty/§§ 'O '°`“/ A 'é"‘”/€""Vf& 7 §

Complainant's signature

Azzzyj///>/,_ ¢¢;;;é§:/“," 1&//7/?£?- Victor Chica, Special Agent, DEA¢

¢";“;/" Printed name and title

Swom to before me and signed in my presence

 

Date= w /VM. ”`J

Judge ’s signature
City and state: McAiien, Texas UAN F. ALANIS, U.S. Magistrate Judge
' Printed name and title

 

 

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` AttachmentA ' " ~----

On Decemb_er 16, 2018, at approximately 5:45 p.m., United States Border Patro|¢(USBP.)rAgent Justin
Wardlow Was patrolling the area of La Rosita, Texas. During patrol operations, BP Agent and Aerostat ' ~
Operator Francisco Rodriguez informed Agent Wardlow that he observed several subjects on an raft _
crossing the Rio Grande River from l\/lexico into U.S. territory and appeared to be transporting large
bundles. _ _

BP Agent Rodriguez continued surveillance of the subjects and observed them carrying large bundles
from the raft and loading them into a light-colored SUV that was parked next to a residence located
north of the river bank in La Rosita, Texas. A few minutes later, BP Agent Rodriguez observed the
subjects cross the Rio Grande River on the raft into lV|exican territory. Shortly after, BP Agent Rodriguez
observed the SUV traveling north then turning West onto U.S. Highway 83. ~ d l

BP Agent Wardlow responded to U.S. Highway 83 as BP Agent Rodriguez provided update's of the ' ‘
vehicle's location. BP Agent Wardlow found the vehicle and conducted an immigration inspection (traffic
stop) of a silver in color Chevro|et Tahoe` with Tex'as license plate AG95454. The Chevro|et Tahoe came
to a final stop near U.S. Highway 83 and Guerra Garza Road, La Rosita, Texas. As BP Agent Wardlow
approached the vehicle, he observed several bundles inside the vehicle. The driver and sole'occupant of
the vehicle, later identified as Juan Manuel ALVAREZ, Was placed under arrest. BP Agent Wardlow"`
conducted a search of the Chevro|et Tahoe and found 10 bundles of suspected marijuana. ALVAREZ was
transported to the Rio Grande City Border Patrol Station for processing. ALVAREZ, the Chevro|et Tahoe
and 10 bundles of marijuana Weighing approximately 104.5 kilograms were transported to the Rio'
Grande City Patrol Station for processing.

On the same date at approximately 9:30 pm, DEA Special Agents Victor Chica and |V|arisol Farias-
responded to the USBP Rio Grande City Station to investigate the incident and were apprised of the
details regarding this case. SA Chica read ALVAREZ his lVliranda Rights in his preferred language of
English, as witnessed by SA Farias. ALVAREZ stated that he understood his_ rights and,agreed_to_ansyve,r
some questions. ALVAREZ told agents that on December 16, 2018, at approximately 5:15.p.m., he drove
his sister's Chevro|et Tahoe to a nearby Stripes Gas station. ALVAREZ stated that he returned home
approximately at 5:30 p.m. and parked the Chevro|et behind the residence and left the doors unlocked.
ALVAREZ stated that approximately ten minutes later, he heard his dogs barking and he Walked outside
and saw several young subjects running south toward the Rio Grande River. ALVAREZ stated that he
looked inside the Chevro|et Tahoe and saw several bundles inside the vehicle but was unaware Why the
subjects loaded the marijuana into the vehicle. ALVAREZ stated he entered the Chevro|et Tahoe and
drove away because he wanted to upset the subjects that loaded the marijuana into the vehicle.
ALVAREZ stated that the same situation had occurred to his sister a few months back and wanted to
teach the subjects a lesson. ALVAREZ told agents that as he Was driving north toward U.S. Highway 83,
he received a phone call from an unknown telephone number and an unknown subject told`him that he _
(the subject) would give him (ALVAREZ) $500.00 if he delivered the bundles to someone that Was
waiting in a black truck near a cake shop. ALVAREZ stated that he decided to deliver the bundles but was
stopped by U.S. Border Patrol. ALVAREZ stated that he Was aware that the bundles contained marijuana
because he recognized the smell of marijuana as he entered the vehicle. rAll questioning~Was stopped
When ALVAREZ had no further information to provide. BP agents conducted a field test of~the suspected
marijuana and it tested positive for the presence of marijuana. .. . _ . - . , . .

